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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                 4:16CR3105

      vs.
                                                                   ORDER
ALEJANDRO HERAS-REAL,

                     Defendant.


      Defendant is eligible for appointment of counsel pursuant to the Criminal Justice
Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of
Nebraska.

      Accordingly,

      IT IS ORDERED:

      1)     The Federal Public Defender shall forthwith provide the court with a draft
             appointment order (CJA Form 20) bearing the name and other identifying
             information of the CJA Panel attorney identified in accordance with the Criminal
             Justice Act Plan for this district.

      2)     The clerk shall forward this memorandum and order to the Federal Public
             Defender.

      3)     The appointed counsel shall promptly file an entry of appearance on behalf of the
             defendant.

      January 19, 2017.

                                                 BY THE COURT:

                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
